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                       IN THE UNITED STATE DISTRICT COURT FOR THE
                              SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 0:21-cv-61653-KMM

   KEVIN FRYE

          Plaintiff,

   v.

   T-MOBILE USA, INC.

         Defendant.
   _________________________________________/


                       DEFENDANT’S REPLY MEMORANDUM IN SUPPORT
                           OF MOTION TO COMPEL ARBITRATION

                                       I.     INTRODUCTION
          Mr. Frye does not dispute he had a contract with Metro since opening his account in
   2011, and that all of his claims arise from third party hackers’ alleged interference with his
   Metro service in 2021. Although he now says that he was not aware of the arbitration
   requirement in his Metro service agreement, he does not dispute that he was provided notice of
   the arbitration requirement over the parties’ decade-long relationship through the informational
   sheet provided to him when he activated his service, arbitration notices used to seal his devices,
   and regular text messages referring him to Metro’s T&Cs. He similarly does not and cannot
   dispute that his claims each fall within the scope of the arbitration requirement in the T&Cs.
          In an attempt to skirt his obligation to arbitrate, Mr. Frye assets a hodge-podge of
   speculation and unfounded claims of fraud, unconscionability, and public policy and
   constitutional violations. Each of Mr. Frye’s general arguments regarding the unenforceability
   of the T&Cs as a whole should be decided by the arbitrator based on the undisputed delegation
   provision in the T&Cs and well-established severability rules. Even if the Court considers Mr.
   Frye’s arguments, they all fail on their merits and because Mr. Frye did not support them with
   any competent evidence.
          The Court should compel Mr. Frye to resolve his claims against Metro in binding
   arbitration based on his service agreement, and stay this action pending arbitration.
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                                          II.     ARGUMENT
          A.      Mr. Frye Should Be Compelled to Arbitrate His Claims.
          Mr. Frye does not dispute that the FAA applies to the pending Motion. (Mot. 5-6.) The
   FAA begins with the premise that there is “nothing inherently unfair or oppressive about
   arbitration clauses” as Mr. Frye suggests. See Coleman v. Prudential Bache Sec., Inc., 802 F.2d
   1350, 1352 (11th Cir. 1986). Under the FAA, Mr. Frye is required to arbitrate his claims
   because he (a) “entered into a written arbitration agreement” with Metro and (b) “the claims
   before the court fall within the scope of that agreement.” Lambert v. Austin Ind., 544 F.3d 1192,
   1995 (11th Cir. 2008). When those threshold elements are satisfied, the FAA “leaves no place
   for the exercise of discretion by a district court, but instead mandates that district courts shall
   direct the parties to proceed to arbitration.” Dean Witter Reynolds, Inc. v. Byrd, 470 U.S. 213,
   218 (1985). The Opposition fails to refute Metro’s evidence on this limited inquiry.
                  1.      Mr. Frye Agreed to Be Bound by the Metro Arbitration Agreement.
          Mr. Frye admits in his Verified Complaint that he “entered into a contract with Metro”
   (Compl. ¶ 10) and does not dispute forming a contract with Metro in his Opposition. (See Opp’n
   15 (“when the Plaintiff entered the contract with T-Mobile, as a lay person … it was not
   conceivable that arbitration could be used as a remedy for something other than bill disputes or
   services issues”—even though the T&Cs require arbitration of “all disputes”).)
          Rather than dispute the existence of the agreement, Mr. Frye denies knowing what was
   contained in his Metro contract. He submitted an unsworn “affidavit” on “information and
   belief” stating that he did not know about the arbitration requirement in his Metro contract. (See
   Frye Aff. ¶¶ 2-3 (“at no time was I aware of the arbitration terms or their contract stated that
   arbitration was mandatory … When I talked to representatives from [Metro] no one ever made
   me aware that I was waiving legal rights”).) Courts have consistently rejected this precise
   argument that a party may avoid a contractual obligation because he was not aware of the
   requirement or that it was not expressly explained to him. See Falcon v. CarMax Auto
   Superstores, Inc., 2018 U.S. Dist. LEXIS 84909, at *9 (S.D. Fla. May 18, 2018) (a party to an
   agreement “cannot avoid his obligations thereunder by alleging that he did not read the contract,
   or that the terms were not explained to him, or that he did not understand the provisions”);
   Kendall Imps., LLC v. Diaz, 215 So. 3d 95, 101 (Fla. Dist. Ct. App. 2017) (“the fact the
   employee did not read or explain the contractual documents, which contained an arbitration



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   clause, to Ms. Benton was insufficient to invalidate the documents or to constitute a defense to
   them”); Fla. Holdings III, LLC v. Duerst, 198 So. 3d 834, 840 (Fla. Dist. Ct. App. 2016) (“It is
   settled that a party should not be permitted to avoid the consequences of a contract … because he
   or she elected not to read and understand its terms … .”); Consol. Res. Healthcare Fund I, Ltd. v.
   Fenelus, 853 So. 2d 500, 504 (Fla. Dist. Ct. App. 2003) (a party cannot avoid a contract by
   claiming he did not “understand that the agreement contained an arbitration provision … unless
   the party can demonstrate that he or she was prevented from reading it or induced by the other
   party to refrain from reading it”).
          The rest of the affidavit appears calculated to suggest that Mr. Frye was also unaware of
   the sticker on the box of his Metro phone informing him of the arbitration requirement because a
   Metro employee “set up the phone” for him. (See Frye Aff. ¶ 3-4.) But Mr. Frye’s vague
   testimony does not state that he did not see the arbitration notice used to seal his devices, or
   suggest the employee prevented him from or viewing the sticker. This notice of the T&Cs
   through the Metro sticker is no different from arbitration provisions in “shrinkwrap agreements”
   that the Court routinely enforces. For instance, in TracFone Wireless, Inc. v. Pak China Grp.
   Co., 843 F. Supp. 2d 1284 (S.D. Fla. 2012), the Court enforced a phone carrier’s shrinkwrap
   contract printed on the packaging of its phone stating in part that “[b]y purchasing or opening
   this package, you are agreeing to these terms and the terms and conditions of service in the
   enclosed user guide.” Id. at 1298-99. Likewise, here, the sticker stated that “By purchasing or
   opening this package, activating, using or paying for Metro … service you agree to the Metro …
   Terms and Conditions … which provide for arbitration of disputes … .” (Norris Decl. ¶ 24.)
          The Opposition offers no other evidence1 purporting to refute Mr. Frye’s notice of and
   agreement to the T&Cs. To be clear, Mr. Frye does not dispute that Metro provided him with a
   “Metro Information Sheet” explaining in English and Spanish that Mr. Frye would be bound by
   the T&Cs by activating and using Metro’s service and that Metro “requires Arbitration of
   Disputes unless you opt-out.” (Norris Decl.¶¶ 20-22, Ex. H at p. 1.) Mr. Frye does not dispute
   that Metro sent him a text message in English and Spanish notifying him of the T&Cs and


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            Mr. Frye offers speculation about the lack of “video evidence” further showing his
   assent to the terms of service. (Opp’n 1, 16.) Mr. Frye fails to explain what this presumed video
   surveillance of a standard customer interaction at a store would show. Mr. Frye has been a
   Metro customer since March 14, 2011, and Metro does not and cannot keep video of every
   customer interaction at every retail store for over a decade.


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   directing him to the website with the T&Cs, including on February 10, 2020 when he upgraded
   his service. (Id. ¶ 26.) Mr. Frye does not dispute he activated, used, and upgraded his device
   and paid for his Metro service over a period of nearly a decade without opting out of arbitration.
   (Id. ¶¶ 28-29, 37.) As explained in every version of the T&Cs—referenced in the information
   sheet, text message, box sticker, and Metro’s website—a customer is bound by the T&Cs by
   manifesting his assent in that manner. (See id. ¶ 27, Ex. F.)
          Consumer arbitration agreements based on this type of notice and conduct are routinely
   enforced by the Court absent competent evidence refuting the agreement. See Rivera v. AT&T
   Corp., 420 F. Supp. 2d 1312, 1320 (S.D. Fla. 2006) (enforcing AT&T’s terms and conditions
   based on customer’s use of service after notice of arbitration requirement); Smith v. Comcast
   Cable Commc’ns Mgmt., LLC, 2016 U.S. Dist. LEXIS 111716, at *5-6 (S.D. Fla. Aug. 22, 2016)
   (rejecting bare assertions regarding not having seen arbitration requirement unsupported by
   evidence given evidence that notice was provided); Alvarez v. Royal Caribbean Cruises, Ltd.,
   905 F. Supp. 2d 1334, 1339 (S.D. Fla. 2012) (“Plaintiffs, meanwhile, accepted the terms and
   conditions of the contract by purchasing and accepting passage … even when the passenger did
   not actually read those provisions.”); Citi Cars, Inc. v. Cox Enters., 2018 U.S. Dist. LEXIS
   42544, at *16 (S.D. Fla. Jan. 22, 2018) (Moore, J.) (enforcing terms and conditions containing
   arbitration provision because plaintiff demonstrated assent by using defendant’s services). Here,
   Mr. Frye did not even deny that the agreement to arbitrate was reached, let alone provide
   competent evidence in support. He merely quibbles regarding his actual knowledge of the
   specific terms the agreement contained. (Frye Aff. ¶¶ 1-4.) He does not and cannot contend that
   Metro prevented him from reviewing the public T&Cs that it repeatedly referenced in its
   communications with Mr. Frye over their decade-long relationship.
          Given his inability to dispute his assent to the T&Cs, Mr. Frye claims he entered into his
   contract with Metro based on “fraud in the execution.” (Opp’n 16-17.) Mr. Frye provides no
   evidence supporting his theory of fraud and there is no such allegation in his Verified Complaint.
   The assertion fails for that reason alone. See Rainbow Invs., Inc. v. Super 8 Motels, Inc., 973 F.
   Supp. 1387, 1389-90 (M.D. Ala. 1997) (“The court should not defer the question of arbitrability
   to an arbitrator merely because a party, with the desire to avoid arbitration, avers, for example,
   that the arbitration clause itself was fraudulently induced. The court must be presented with
   evidentiary facts that tend to show the existence of grounds at law or in equity to support the



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   revocation of the arbitration agreement.”). Indeed, the only explanation of the claim is again a
   recitation that Mr. Frye “was not aware” that he would be giving up certain rights by entering
   into the T&Cs. (Opp’n 16.) As explained in the cases cited above, that excuse is insufficient as
   a matter of law to avoid the obligation to arbitrate.
          Mr. Frye should not be allowed to accept the benefits of his decade-long service contract
   with Metro, including industry-leading prepaid phone rates presently starting at around $30 a
   month, while avoiding the industry standard contractual requirement to efficiently arbitrate
   disputes arising from the provision of that low-cost service.
                  2.      Mr. Frye’s Claims Are Subject to Arbitration.
          Mr. Frye does not expressly dispute that his claims relating to Metro’s purported failure
   to safeguard his phone account fall within the scope of Metro’s broad arbitration agreement.
   (Mot. 12.) His Opposition, however, cites Seifert v. U.S. Home Corp., 750 So. 2d 633, 635 (Fla.
   1999)—a case regarding the scope of an arbitration provision—in connection with Mr. Frye’s
   unconscionability analysis. (Opp’n 8-9.) The issue in that case was whether an “arbitration
   provision in a sales agreement for a home did not require arbitration of a wrongful death claim
   based on negligence where … the tort action did not bear a significant relationship to the
   contract.” Laizure v. Avante at Leesburg, Inc., 109 So. 3d 752, 758 (Fla. 2013). As the Florida
   Supreme Court has since held, Seifert has no application where there exists a “significant
   relationship … between the contract and the allegations in the complaint.” Id. Likewise, here,
   the T&Cs cover “any and all claims or Disputes between [Metro] and [Mr. Frye], in any way
   related to or concerning the Agreement, [Metro’s] Privacy Policy, [Metro’s] Services, [or]
   devices or products” (Norris Decl. ¶ 30) and all of Mr. Frye’s claims are based on the alleged
   failure to safeguard his Metro service and device (Compl. ¶¶ 88-153). Seifert does not apply.
          Because the parties entered into an arbitration agreement and Mr. Frye’s claims fall
   within its scope, the Court should compel arbitration. See Lambert, 544 F.3d at 1995.
          B.      Mr. Frye’s Arguments in Opposition Each Fail.
          Given his inability to dispute the central issues relevant to the Motion, Mr. Frye devotes
   most of his Opposition to ancillary arguments about the purported unenforceability or
   unconscionability of the Metro T&Cs. None provides a basis for avoiding arbitration.




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                  1.      The T&Cs Delegate Arbitrability Challenges to the Arbitrator.
          Mr. Frye primarily argues in his Opposition that the T&Cs are unconscionable (Opp’n 4-
   9) or against public policy (id. at 15) or violate his “constitutional rights” (Opp’n 15-16).2 But as
   explained in the Motion and nowhere addressed in the Opposition, all versions of Metro’s T&Cs3
   incorporate arbitral rules of AAA and JAMS, which the Eleventh Circuit has held constitutes
   “clear and unmistakable evidence that the parties ... intended to delegate questions of arbitrability
   to the arbitrator.” (Mot. 11 (quoting JPay, Inc. v. Kobel, 904 F.3d 923, 938 (11th Cir. 2018)).)
          The delegation requires the arbitrator to decide Mr. Frye’s general enforceability and
   unconscionability arguments. In particular, as the Eleventh Circuit and this Court have
   repeatedly held, arguments relating to the unenforceability of the arbitration contract or
   arbitration provision as a whole are insufficient when the parties make a proper. Most recently,
   in Larsen v. Citibank FSB, 856 F. App’x 238, 245 (11th Cir. 2021), the Eleventh Circuit rejected
   unconscionability arguments indistinguishable from the one made by Mr. Frye because it was not
   directed specifically to the delegation provision:

          Plaintiffs argue that the delegation clause is unconscionable and therefore
          unenforceable. Because the Wells Fargo Agreement delegates issues of
          interpretation, scope, and enforceability to the arbitrator, we only retain jurisdiction
          over challenges directed specifically at that delegation. Where a plaintiff’s only
          challenge applies to the arbitration agreement more broadly, we leave those
          challenges to the arbitrator. As the district court properly noted, “Plaintiffs do not
          identify any specific defect in the delegation clause and instead argue only that it is
          unconscionable for the same reasons’ as the contract more generally.” Without
          Plaintiffs pointing to any specific deficiencies in the delegation clause, we find no


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             The Opposition also includes speculation about, e.g., what actions Metro “could have
   taken” to prevent SIM swap fraud by third party hackers (Opp’n 9-13), purported criminal
   conduct (id. at 17), and investigations or fines against Metro/T-Mobile relating to the disclosure
   of customer “location information” and a “data breach” having nothing to do with the present
   action (id. at 14-15, 17-18). None of Mr. Frye’s theories of misconduct by Metro are even
   alleged in his complaint, let alone supported by evidence or relevant to the pending Motion. He
   relies entirely on speculation based on information from third-party webpages, which Metro will
   refute with evidence in arbitration at the appropriate time.
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            Mr. Frye refers to another version of the T&Cs purportedly from February 15, 2020.
   He does not identify any relevant difference in this version or why it controls over earlier
   versions when he first signed up for Metro or later versions put into place. All versions of
   Metro’s T&Cs contain the same relevant provisions, including the arbitration requirements. (See
   Shrayer Decl., Ex. 1 at 7.) The differences in that version appear to be non-substantive (e.g., the
   agreement refers to “Metro by T-Mobile” rather than “MetroPCS”).


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          reason to deem it unconscionable. Plaintiffs may take up their challenges to the
          contract as a whole with the arbitrator.

   Id. (citing Rent-A-Center W., Inc. v. Jackson, 561 U.S. 63, 70-71 (2010)).
          It is black-letter law in this circuit that if “a would-be plaintiff seeks to challenge an
   arbitration agreement containing a delegation provision, he or she must challenge the delegation
   provision directly” or else all such challenges must be decided by the arbitrator. Parnell v.
   CashCall, Inc., 804 F.3d 1142, 1149 (11th Cir. 2015) (compelling arbitration despite
   unconscionability arguments based on delegation clause: “These allegations all address the
   validity of the underlying agreement and reflect the extent of Parnell’s challenge. At no point in
   his complaint does Parnell specifically challenge the parties’ agreement to commit to arbitration
   the question of the enforceability of the arbitration agreement.”); accord Lichtman v. Bar Educ.,
   Inc., 2021 U.S. Dist. LEXIS 187429, at *16 (M.D. Fla. Sep. 30, 2021); Inferno Grp. Holdings,
   LLC v. 1000 Degrees Pizzeria Franchise, Inc., 2017 U.S. Dist. LEXIS 219925, at *16-17 (S.D.
   Fla. Nov. 27, 2017) (refusing to consider unconscionability challenge to arbitration provision
   including delegation clause when “Plaintiff does not even acknowledge the existence of the
   delegation clause”). Mr. Frye does not even acknowledge the delegation provision of the T&Cs
   let alone make an argument that it specifically does not apply. The arbitrator should thus decide
   Mr. Frye’s various enforceability arguments.
                  2.      Mr. Frye’s Enforceability Challenges Are Severable.
          Even without a valid delegation provision like in the T&Cs, any claim of unenforceability
   must be directed specifically at the arbitration clause as opposed to other unrelated portions of
   the arbitration contract. Mr. Frye does not make any such challenge for the Court to decide.
          “Challenges to the validity of arbitration agreements ‘upon such grounds as exist at law
   or in equity for the revocation of any contract’ can be divided into two types.” Buckeye Check
   Cashing, Inc. v. Cardegna, 546 U.S. 440, 444 (2006). “One type challenges specifically the
   validity of the agreement to arbitrate.” Id. “The other challenges the contract as a whole, either
   on a ground that directly affects the entire agreement (e.g., the agreement was fraudulently
   induced), or on the ground that the illegality of one of the contract’s provisions renders the whole
   contract invalid.” Id. “[U]nless the challenge is to the arbitration clause itself, the issue of the
   contract’s validity is considered by the arbitrator in the first instance” because “an arbitration
   provision is severable from the remainder of the contract.” Id. at 445; see, e.g., Benoay v.



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   Prudential-Bache Secur., Inc., 805 F.2d 1437, 1441 (11th Cir. 1986) (“Benoay’s claims of
   adhesion, unconscionability, waiver of judicial remedies without knowledge, and lack of
   mutuality of obligation pertain to the contract as a whole, and not to the arbitration provision
   alone, then these issues should be resolved in arbitration”); Mercury Telco Grp., Inc. v. Empresa,
   670 F. Supp. 2d 1350, 1356 (S.D. Fla. 2009) (arbitrator must decide fraud allegations directed at
   the arbitration contract as a whole).
          Mr. Frye’s challenges to the enforceability of the arbitration agreement relate entirely to
   collateral terms beyond the arbitration clause. In particular, he challenges the limitation of
   liability provisions restricting, e.g., punitive damages and damages caused by third parties,
   pursuant to which Metro offered $30/month prepaid phone service. (Opp’n 5-9.) As he states in
   his Opposition, “Mr. Frye contends that the Agreement … is unenforceable in its entirety.” (Id.
   at 8.) This attack on the contract as a whole has no bearing on the arbitration analysis.
          In claiming these ancillary attacks prevent enforcement of the arbitration provision, Mr.
   Frye ignores the Supreme Court’s severability doctrine and relies upon outdated and out-of-
   circuit authorities applying inapposite California law. (Opp’n 5-7.) Even in those cases,
   however, the party opposing arbitration attacked parts of the arbitration agreement. See
   Armendariz v. Found. Health Psychcare Servs., Inc., 24 Cal. 4th 83, 108 (2000) (challenging
   provision requiring payment of arbitration fees by employee/plaintiff); Ingle v. Circuit City
   Stores, Inc., 328 F.3d 1165, 1173 (9th Cir. 2003) (challenging one-sided arbitration requirement
   only applying to employee/plaintiff’s claims).
          The arbitrator should decide Mr. Frye’s claims regarding the enforceability of the
   collateral term, including his unconscionability, public policy, and fraud claims. See Coleman,
   802 F.2d at 1352 (“Claims alleging unconscionability, coercion, or confusion in signing the
   agreement generally should be determined by an arbitrator because those issues go to the
   formation of the entire contract”). Indeed, even if certain provisions of the T&Cs were
   unenforceable, the remedy is to sever the term pursuant to the contract’s severability provision
   (see, e.g., Norris Decl., Ex. G at p. 134). See Citi Cars, 2018 U.S. Dist. LEXIS 42544, at *25
   (“the Court finds that the Limitation of Liability Clause is severable … the underlying claims are
   to be arbitrated regardless of the validity of the remedial restrictions”); Distribuidora De
   Vehiculos S.A. v. John Deere Constr. & Forestry Co., 2012 U.S. Dist. LEXIS 202689, at *17
   (S.D. Fla. June 13, 2012) (“Even if the objected-to-language is invalid, it is severable”).



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                  3.      Mr. Frye’s Arbitrability Challenges Fail in Any Event.
          Even if the Court were to consider the enforceability issues delegated to the arbitrator and
   subject to severance (it should not), Mr. Frye failed to prove the unenforceability of the T&Cs.
                          a.      The T&Cs Are Not Unconscionable.
          “A plaintiff challenging the enforcement of an arbitration agreement bears the burden to
   establish, by substantial evidence, any defense to the enforcement of the agreement.” Inetianbor
   v. CashCall, Inc., 923 F. Supp. 2d 1358, 1362 (S.D. Fla. 2013). “Under Florida law, to prevail
   on her defense that the Arbitration Agreement is unconscionable and therefore unenforceable,
   [Plaintiff] must establish that the Agreement is both procedurally and substantively
   unconscionable.” Echeverri v. P.S. Bus. Parks, L.P., 2014 U.S. Dist. LEXIS 194801, at *4 (S.D.
   Fla. Mar. 20, 2014). Mr. Frye failed to prove either.
          The Metro T&Cs are not procedurally unconscionable. “The procedural component of
   unconscionability relates to the manner in which the contract was entered into.” Echeverri, 2014
   U.S. Dist. LEXIS 194801, at *4-5. Although “[i]t involves consideration of the relative
   bargaining power of the parties … [m]ere inequality in bargaining power … is not a sufficient
   reason to hold that arbitration agreements are [unenforceable].” Id. Mr. Frye provided no
   evidence supporting his claim of procedural unconscionability. He does not explain why he
   could not choose to use any of Metro’s competitors operating in Florida. He also ignores that the
   T&Cs included an opt-out procedure that he did not utilize. (Norris Decl. ¶¶ 33, 37.) There is no
   potential for procedural unconscionability in these circumstances. See Citi Cars, 2018 U.S. Dist.
   LEXIS 42544, at *22-23; Rimel v. Uber Techs., Inc., 246 F. Supp. 3d 1317, 1326 (M.D. Fla.
   2017) (“[T]he existence of a meaningful right to opt-out of arbitration necessarily renders the
   arbitration clause … procedurally conscionable as a matter of law.”).
          The Metro T&Cs also are not substantively unconscionable. “A contract is substantively
   unconscionable if its terms ‘are so outrageously unfair as to shock the judicial conscience.’”
   Echeverri, 2014 U.S. Dist. LEXIS 194801, at *4-5. “With regard to substantive
   unconscionability, the Eleventh Circuit has stated that ‘there is nothing inherently unfair or
   oppressive about arbitration clauses.’” Id. (quoting Coleman, 802 F.2d at 1352). Likewise,
   “[t]here is nothing inherently shocking or unfair about limitation-of-liability provision. In fact,
   courts frequently enforce similar provisions.” CC Aventura, Inc. v. Weitz Co., Ltd. Liab. Co.,
   2009 U.S. Dist. LEXIS 94299, at *30 (S.D. Fla. Oct. 9, 2009); accord Mt. Hawley Ins. Co. v.



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   Pallet Consultants Corp., 2009 U.S. Dist. LEXIS 56314, at *25 (S.D. Fla. June 25, 2009). In
   general, “[t]he overarching policy in Florida is that unconscionability is a highly disfavored
   defense,” CC Aventura, 2009 U.S. Dist. LEXIS 94299, at *28, and Mr. Frye has not submitted
   any evidence to meet his heavy burden.
                           b.      The T&Cs Do Not Violate Public Policy.
           Mr. Frye similarly suggests the limitation of liability provisions are “void against public
   policy.” (Opp’n 4, 15.) But he does not identify any public policy against enforcement of the
   arbitration provision or the limitation of liability provisions. No such policy appears to exist.
   The FAA reflect an “emphatic federal policy in favor of arbitral dispute resolution.” KPMG LLP
   v. Cocchi, 565 U.S. 18, 21 (2011). Likewise, “Florida public policy favors resolving disputes
   through arbitration” and “[a]ll doubts regarding the scope of an arbitration agreement must be
   resolved in favor of arbitration.” Maguire v. King, 917 So. 2d 263, 266 (Fla. Dist. Ct. App.
   2005). Limitation of liability provisions are also routinely enforced over public policy
   objections. See CC Aventura, 2009 U.S. Dist. LEXIS 94299, at *28; Cont’l Video Corp. v.
   Honeywell, 422 So. 2d 35, 37 (Fla. Dist. Ct. App. 1982) (“We do not find that the contract
   [containing exculpatory provision] was against public policy.”).
                           c.      The T&Cs Do Not Violate Constitutional Rights.
           Mr. Frye suggests the provisions in the T&Cs violate his “constitutional rights” without
   identify the affected constitutional rights. (Opp’n 15-16.) He relies exclusively on Seifert, 750
   So. 2d at 643, which referred to the right to trial by jury in dicta. As explained above, that case
   involved inapposite circumstances of a party seeking arbitration of disputes having no
   relationship to the arbitration contract. The case did not set forth any rule preserving a right to a
   jury in arbitration. Any such rule would be preempted by the FAA. See AT&T Mobility LLC v.
   Concepcion, 563 U.S. 333, 356 (2011) (any state requirement of “ultimate disposition by a jury”
   are the types of “rules aimed at destroying arbitration” preempted by the FAA). A waiver of a
   jury trial is valid in connection with an arbitration agreement and does not raise any
   constitutional concern. See Caley v. Gulfstream Aero. Corp., 428 F.3d 1359, 1372 (11th Cir.
   2005) (“the party is not entitled to a jury trial” in arbitration).
                                          III.     CONCLUSION
           Metro respectfully requests the Court grant its Motion to Compel Arbitration and stay
   this action until the completion of arbitration proceedings.



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                                      Respectfully submitted,

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